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             EXHIBIT 2
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Fair competition and transparency benefits us all - Newsroom | TikTok                                                                 9/22/20, 10(52 AM




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      United States
                                  By Kevin Mayer, CEO, TikTok

                                  Innovation is one of the defining characteristics of a competitive market. The introduction
                                  of a successful new product fuels growth and dynamism in any industry. It is unfortunate
                                  for creators, brands, and the broader community that it has been years since a company
                                  came along and reimagined what a social entertainment platform could be. But TikTok
                                  did just that.

                                  TikTok brought a unique and intuitive interface. It gave creators easy, powerful tools. It
                                  also encouraged the formation of inclusive and meaningful communities. In short, TikTok
                                  brought successful competition to the marketplace. This is why I joined the company as
                                  CEO earlier this year: to help lead the next generation of creators to connect with their
                                  newly energized audience, while bringing fun entertainment to people's lives.

                                  TikTok has become the place where new music is discovered and explodes onto the scene,
                                  such as Lil Nas X's "Old Town Road." During the pandemic, we saw the resonance of Curtis
                                  Roach, whose "Bored in the House" mantra became an anthem for putting a positive spin
                                  on tough times and helped people better cope with the lockdowns. And best of all, we
                                  witnessed many examples of families coming together to perform multi-generational
                                  song and dance, which warmed all of our hearts.

                                  With our success comes responsibility and accountability. The entire industry has received
                                  scrutiny, and rightly so. Yet, we have received even more scrutiny due to the company's
                                  Chinese origins. We accept this and embrace the challenge of giving peace of mind
                                  through greater transparency and accountability. We believe it is essential to show users,
                                  advertisers, creators, and regulators that we are responsible and committed members of
                                  the American community that follows US laws.

                                  Even more, we believe our entire industry should be held to an exceptionally high
                                  standard. That's why we believe all companies should disclose their algorithms,
                                  moderation policies, and data flows to regulators. We will not wait for regulation to come,
                                  but instead TikTok has taken the first step by launching a Transparency and Accountability
                                  Center for moderation and data practices. Experts can observe our moderation policies in
                                  real-time, as well as examine the actual code that drives our algorithms. This puts us a
                                  step ahead of the industry, and we encourage others to follow suit.

                                  Beyond our commitment to accountability, we also believe all players in the industry
                                  should make a positive impact in the community. Our $200 million Creator Fund will help
                                  American creators get the most out of TikTok, and we expect that this will grow to over $1
                                  billion in the US in the next 3 years, and more than double that globally. In addition to
                                  supporting these creative entrepreneurs, we are also on track to create 10,000 new TikTok
                                  jobs across the US.

                                  At TikTok we welcome competition. We think fair competition makes all of us better. To
                                  those who wish to launch competitive products, we say bring it on. Facebook is even
                                  launching another copycat product, Reels (tied to Instagram), after their other copycat


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                                  Lasso failed quickly. But let's focus our energies on fair and open competition in service of
                                  our consumers, rather than maligning attacks by our competitor – namely Facebook –
                                  disguised as patriotism and designed to put an end to our very presence in the US.

                                  Without TikTok, American advertisers would again be left with few choices. Competition
                                  would dry up and so too will an outlet for America's creative energy. We are not political,
                                  we do not accept political advertising and have no agenda – our only objective is to
                                  remain a vibrant, dynamic platform for everyone to enjoy. Consumers can only benefit
                                  from the growth of healthy, successful platforms like TikTok and we will fight to continue to
                                  give American creators, users and brands an entertaining outlet for many years to come.

                                  We are willing to take all necessary steps to ensure the long-term availability and success
                                  of TikTok. The one thing that will not change is our commitment to ensuring that TikTok
                                  remains a safe and secure platform for the tens of millions of American families that
                                  derive joy from it.

                                  For our skeptics, I am confident we have the answers and where we do not, we will
                                  improve. The onus is on us to step up. We are doing so, and will continue to take the bold
                                  steps needed. I accept and appreciate the challenge.

                                  TikTok has become the latest target, but we are not the enemy. The bigger move is to use
                                  this moment to drive deeper conversations around algorithms, transparency, and content
                                  moderation, and to develop stricter rules of the road. We are taking the first step of many
                                  to address these concerns, and call on the industry to follow our lead for the benefit of
                                  users and creators everywhere.




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                           Our H1 2020 Transparency
                           Report
                           By Michael Beckerman, VP, Head of US Public Policy & Eric Han, Head of
                           Safety, TikTok US Today we released our global Transparency Report for the
                           first six months of 2020. This report provides insight




                             Safety     9/22/2020



                           TikTok proposes global coalition
                           to protect against harmful
                           content
                           By Cormac Keenan, Trust & Safety, EMEA; Arjun Narayan Bettadapur
                           Manjunath, Trust & Safety, APAC; Jeff Collins, Trust & Safety, Americas Earlier
                           today we released our global Transparency Report for th




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